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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
IN RE

JOSE DE JESUS ZEPEDA,                                       CHAPTER 7

                                                            CASE NO. 18-23696 (RDD)
                       DEBTOR.


                   ORDER PURSUANT TO 11 U.S.C. § 362(d)
        MODIFYING THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

       Upon the motion, dated December 13, 2018 (the “Motion”), of Nationstar Mortgage LLC

d/b/a Mr. Cooper as Servicer for Deutsche Bank National Trust Company, as Trustee for HSI

Asset Loan Obligation Trust 2007-1 (with any subsequent successor or assign, the “Movant”),

for an order, pursuant to section 362 (d) of title 11 of the United States Code (the “Bankruptcy

Code”) vacating the automatic stay imposed in this case by section 362(a) of the Bankruptcy

Code as to the Movant’s interests in 119 Church Street, New Rochelle, NY 10805 (the

“Property”) to allow the Movant’s enforcement of its rights in, and remedies in and to, the

Property; and due and proper notice of the Motion having been made on all necessary parties;

and there being on objections to the Motion; and the Court having held a hearing on the Motion

on March 8, 2019; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing, it is hereby

       ORDERED that the Motion is granted as provided herein; and it is further

       ORDERED that the automatic stay imposed in this case by section 362(a) of the

Bankruptcy Code is vacated under section 362(d)(1) of the Bankruptcy Code as to the Movant’s

interests in the Property to allow the Movant’s enforcement of its rights in, and remedies in and

to, the Property under applicable non-bankruptcy law, including without limitation loss

mitigation, foreclosure and eviction proceedings; and it is further



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       ORDERED that the Movant shall promptly report and turn over to the chapter 7 trustee

any surplus proceeds of the Property.

Dated: White Plains, New York
       March 18, 2019

                                            /s/Robert D. Drain_____________
                                            United States Bankruptcy Judge




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